                                                       Case 1:22-cv-01032-PKC-JRC Document 220-3 Filed 05/26/23 Page 1 of 8 PageID #: 4368
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Sub      in Associates, LLP
Attorneys Representing the Injured for Half aCentury
       150 Broadway, 23rd Floor
         New York, NY 10038




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        Case 1:22-cv-01032-PKC-JRC Document 220-3 Filed 05/26/23 Page 2 of 8 PageID #: 4369

 IME Companions                                                                            Invoice
 PO Box 90398
 Staten Island, NY 10309
 (833) 463 7767
 info@lmecompanions.com
 www.imecompanions.com
              BILL TO
              Subin Associates, LLP




\INVOICE#                DATE           TOTAL DUE               DUE DATE                     ENCLOSED

15827                   \03/01 /2023   j $1?,365.QO             [Q4/01/20_23_




! IME DATE        DESCRIPTION            LOCATION                                    QTY      RATE      AMOUNT'

 03/01/2023        IME Companion        IRhadera Allen- 2.5 hours                      1     410.00      410.00
                                          Dr. Dana Mannor       Ortho
                                        [ 945 Huguenot Avenue, Staten Island, NY
                                          10312
                                          Outside NYC
                                          Served Subpoena
 03/01/2023       IME Companion           Natali Rolitsky- 2 hours                     1     315.00      315.00
                                          Dr. Aruna Senevirante Ort ho
                                          717 Church Avenue, Brooklyn, NY 11218
                                          Served Subpoena
 03/01/2023        IME Companion          Jean Sine- 2 hours                           1     315.00      315.00
                                          Dr. Marianna Golden       Neuro
                                          162-04 Jamaica Avenue, Jamaica, NY
                                          11432
                                          Served Subpoena
 03/02/2023       IME Companion           Estalin Batista- 1 hour                      1     225.00      225.00
                                        j Dr. Jeffrey Klein Ortho
                                          303 2nd Avenue, New York, NY 10010
                                          Served Subpoena
 03/02/2023       IME Companion           Felice Blackledge- 2 hours                   1     315.00      315.00j
                                          Dr. Aruna Senevirante Ortho
                                          2114 Williamsbridge Road, Bronx, NY                                     Ii
                                          10461
                                                                                                                  I
                                          Served Subpoena
 03/02/2023        IME Companion          Ivan Popovych- 1 hour                        1     225.00      225.ool
                                          Dr. Andrew Bazos       Ortho
                                          244 West 54th Street, New York, NY 10019
                                          Served Subpoena
                                                                                                                i
 03/03/2023       IME Companion           Athanasios Hondros- 2.5 hours                      360.00      360.00I
                                          Dr. Calogero Gambino Ortho                                              I
                                          6740 4th Avenue, Brooklyn, NY 11220
                                          Served Subpoena
                                                                                                                  Ii
                                                                                                                '
 03/03/2023       IME Companion         IRichard Lord- 1 hour                          1     225.00      225.001
                                         Dr. Andrew Casden       Ortho ...
      Case 1:22-cv-01032-PKC-JRC Document 220-3 Filed 05/26/23 Page 3 of 8 PageID #: 4370

IME DATE     DESCRIPTION        LOCATION                                     QTY    RATE    AMOUNT;

                                  210 East 64th Street, New York, NY 10065
                                  Served Subpoena
03/04/2023   IME Companion        Claudia Vigoya- 1.5 hours                    1   340.00    340.00
                                  Dr. Michael Tawlellos PM&R
                                  217 Merrick Road, Amityville, NY 11701
                                  Outside NYC
                                  Served Subpoena
                                                                                                      I
03/06/2023   IME Companion        Victor Rodriguez- 1 hour                     1   290.00    290.001
                                  Dr. Michael Miller    Ortho                                         I

                                  220 North Central Avenue, Hartsdale, NY                             I
                                                                                                      I
                                  10530                                                               I
                                  Outside NYC
                                  Served Subpoena                                                     I
03/07/2023   IME Companion        Ulyses Campbell- 1 hour                          225.00    225.00
                                  Dr. Ronald Grelsamer Ortho
                                  303 Second Avenue, New York, NY 10003
                                  Served Subpoena
03/08/2023   IME Companion        Luis Pabon- 1.5 hours                        1   270.00    270.00
                                  Dr. Carl Friedman Internal Medicine
                                  1000 Park Avenue, New York, NY 10028
                                  Served Subpoena
03/10/2023   IME Companion        Rohan Manragh- 1.5 hours                     1   350.00    350.00
                                  Dr. Edward Weiland       Neuro
                                  186 West Montauk Highway, Hampton
                                  Bays, NY 11946
                                  Outside NYC
                                  Served Subpoena
03/10/2023   IME Companion        Miguel Bienvanido Bermeo vera- 1.5 hours     1   270.00    270.00
                                  Dr. Randall Ehrlich Ortho
                                  2932 Wilkinson Avenue, Bronx, NY 10461
                                  Served Subpoena
03/13/2023   IME Companion      I Brittany Mcgrath- 1 hour
                                '
                                                                               1   225.00    225.00
                                  Dr. Pierce Ferriter Ortho
                                  2044 Ocean Avenue, Brooklyn, NY 11230
                                  Served Subpoena
03/13/2023   IME Companion        Devon Carter- 1.5 hours                          270.00    270.001
                                  Dr. Yong Kim       Ortho Spine
                                  145 East 32nd Street, New York, NY 10016                            !
                                  Served Subpoena
03/14/2023   IME Companion        Manuel Llongo- 1 hour                        1   225.00    225.00
                                  Dr. Adam Bender       Neuro
                                  1150 Park Avenue, New York, NY 10128
                                  Served Subpoena
03/15/2023   IME Companion        Miguel Vera- 1.5 hours                       1   270.00    270.00
                                  Dr. Rene Elkin Neuro
                                  1560 Grand Concourse, Bronx, NY 10457
                                  Served Subpoena
03/16/2023   IME Companion        Maitza Quiones- 1.5 hours                    1   270.00    270.00
                                  Dr. Arnold Berman Ortho
                                  30 Park Avenue, New York, NY 10016
                                  Served Subpoena
03/16/2023   IME Companion        Rohan Manragh- 1 hour                        1   325.00    325.00
                                  Dr. Dana Mannor        Ortho
           Case 1:22-cv-01032-PKC-JRC Document 220-3 Filed 05/26/23 Page 4 of 8 PageID #: 4371
• IME DATE        DESCRIPTION        LOCATION                                   QTY    RATE    AMOUNT

                                     28 Sycamore Lane, Commack, NY 11725
                                     Outside NYC
                                     Served Subpoena
    03/17/2023    IME Companion      Chery Roenickel- 2 hours                     1   375.00    375.00
                                     Dr. Edward Mills Ortho
                                     2545 Hempstead Turnpike, East Meadow,
                                     NY 11554
                                     Outside NYC
                                     Served Subpoena                                                     i
    03/20/2023    IME Companion      Rokshana Jahan- 2 Hours                      1   315.00    315.ool
                                     Dr. Warren Cohen     Neuro
                                     42-23 Francis Lewis Blvd, Bayside, NY
                                     11361
                                     Served Subpoena
    03/21/2023    IME Companion      Nancy Rivera 1.5 hours                           270.00    270.00
                                     Mark Ramnauth Voe rehab
                                     Zoom
                                     Served Subpoena
    03/22/2023    IME Companion      Francia Montano- 1.5 hours                   1   270.00    270.00
                                     Dr. Douglas Cohen Neuro
                                     80 Maiden Lane, New York, NY 10038
                                     Served Subpoena                                                     I
    03/22/2023    IME Companion      Rick Andre Jean- 1 hour                          225.00    225.00
                                     Dr. William Schell Ortho
                                     1790 Broadway, New York, NY 10019
                                     Served Subpoena
    03/22/2023    IME Companion      Nasir Khan- 2 hours                          1   315.00    315.00
                                     Dr. Larry Shemen     ENT
                                     233 East 69th Street, New York, NY 10021
                                     Served Subpoena
                                                                                                         I
I   03/22/2023    IME Companion      Veronica Hillario- 1 hour                    1   225.00    225.ool
                                     Dr. Arnold Berman      Ortho
                                     30-55 21st Street, Astoria, NY 11 002                               I
                                     Served Subpoena
    03/22/2023    IME Companion      Magaly Martinez- 2 Hours                     1   315.00    315.ool
                                     Dr. Rene Elkin   Neuro                                              I
                                     1560 Grand Concourse, Bronx, NY 10457
                                     Served Subpoena
                                                                                                         I!
• 03/23/2023      IME Companion      Claudia Lucia Vigoya- 1 hour                 1   285.00    285.ool
                                     Dr. Robert Sohn    Chiro                                            i'
                                     2545 Hempstead Turnpike, East Meadow,
                                     NY 11554
                                     Outside NYC
                                     Served Subpoena
    03/23/2023    IME Companion      Miles Hires- 1 hour                          1   225.00    225.001•
                                     Dr. Dorothy Scarpinato     Ortho                                    I
                                     277 88th Street, Brooklyn, NY 11209                                 I
                                     Served Subpoena
    03/23/2023    IME Companion      Davin Joseph- 1 hour                         1   225.00    225.00
                                     Dr. Dorothy Scarpinato Ortho
                                     277 88th Street, Brooklyn, NY 11209
                                     Served Subpoena
                                                                                                         I
    03/23/2023    IME Companion      Adriene Harrison- 2 Hours                        315.00    315.oolI
         Case 1:22-cv-01032-PKC-JRC Document 220-3 Filed 05/26/23 Page 5 of 8 PageID #: 4372

IMEDATE                  DESCRIPTION                 LOCATION                                 QTY    RATE    AMOUNT

                                                     Dr. Amit Khaneja        Neuro
                                                     42-23 Francis Lewis Blvd, Bayside, NY
                                                     11361
                                                     Served Subpoena
03/24/2023               IME Companion               Ulyses Campbell- 2 hours                   1   315.00    315.00
                                                     Dr. Jared Brandoff Ortho
                                                     205 E 76th Street, New York, NY 10075
                                                     Served Subpoena
03/27/2023               IME Companion               Joshua Torres- 1.5 hours                   1   270.00    270.00
                                                     Dr. Steven Schneider Chiro
                                                     717 Church Avenue, Brooklyn, NY 11218
                                                     Served Subpoena
03/27/2023               IME Companion               Carmen Santos- 1.5 hours                   1   270.00    270.00
                                                      Dr. Nicholas Post     Ortho
                                                     9020 5th Avenue, Brooklyn, NY 11209
                                                     Served Subpoena
03/27/2023               IME Companion               Adriene Harrison- 2 hours                  1   270.00    270.00
                                                      Dr. Regina Hillsman Ortho
                                                      42-23 Francis Lewis Blvd, Bayside, NY
                                                      11361
                                                     Served Subpoena
03/28/2023               IME Companion                Felipe Batista- 2 hours                   1   270.00    270.00
                                                      Dr. Jeffrey Passick Ort ho                                       I
                                                     421 Ocean Parkway, Brooklyn, NY 11218
                                                     Served Subpoena                                                   I
03/28/2023               IME Companion               Mark Perry- 1 Hour                         1   225.00    225.001
                                                      Dr. Daniel Wolstein, Voe Rehab
                                                      Zoom
                    I                                Served Subpoena                                                   I
03/28/2023          f    1ME Companion                Robert Mitchell- 1 hour                   1   225.00    22s.ool
                                                      Dr. John Bendo Ortho                                             I
                    II                               862 Park Avenue, New York, NY 10075
                                                     Served Subpoena
03/28/2023               IME Companion               Andrei Percium- 5 hours                    1   585.00    585.00
                                                      Dr. William Head Neuro Psych                                     I
                                                                                                                       I
                                                      154 W. 14th Sr. New York NY                                      I'
                                                     Served Subpoena                                                   I
                                                                                                                       '
03/29/2023               IME Companion                Perisia Gonzalez- 1.5 hours               1   225.00    225.001
                                                      Dr. Kenneth Mroczek      Ortho
                                                     303 2nd Avenue, New York, NY 10003
                                                     Served Subpoena
                                                                                                                       I
03/29/2023               IME Companion               Alberto Navarro- 2 hours                   1   315.00    31s.oof
                                                    I Dr. Eial Faierman Ortho                                          i

                                                    12100 Bartow Avenue, Bronx, NY 10475                               I
                                                     Served Subpoena                                                   I
03/30/2023          I IME Companion                  Ambra Martin- 2 hours                      1   315.00    31s.ooj
                                                      Dr. Regina Hillsman Ortho                                        I'
                                                      2949 Middletown Road, Bronx, New York                            I
                                                      10461                                                            I'
                                                     Serveci§ubi:ioena                                                 '
                                                                                                                       I'
We appreciate your business and look forward to helping you again soon.   BALANCE DUE
                                                                                                      $12,365.00
        Case 1:22-cv-01032-PKC-JRC Document 220-3 Filed 05/26/23 Page 6 of 8 PageID #: 4373
 IME Companions                                                                                           Invoice
 PO Box 90398
 Staten Island, NY 10309
 (833) 463 7767
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 www.imecompanions.com
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              Subin Associates, LLP




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 5828                                                      1 0510112023
                                                                            . i
                                                                                   ------------------ - - --   I




'IME DATE         DESCRIPTION          LOCATION                                                   QTY               RATE      AMOUNT

 04/03/2023       IME Companion         Felipe Batista- 2 hours                                                    315.00               '
                                                                                                                               315.001
                                        Dr. Nicholas Post      Neuro
                                        9020 5th Ave. Brooklyn NY 11209
                                        Served subpoena
04/03/2023        IME Companion         Juana Rivera- 1.5 hours                                       1            270.00      270.00
                                        Dr. Yong Kim      Ort ho
                                        145 East 32nd St. New York NY 10016
                                        Served subpoena                                                                                 I
                                                                                                                                        '
04/03/2023        IME Companion         Mohammed Yasin- 1.5 hours                                     1            270.00      270.00!
                                        Dr. David Essig     Chiro
                                        717 Church Avenue, Brooklyn, NY 11218
                                        Served subpoena
04/04/2023        IME Companion         Rafael Moreno- 1.5 hours                                      1            270.00      270.00
                                        Dr. Salvatore Lenzo      Ortho
                                        955 5th Avenue, New York, NY 10075
                                        Served subpoena
04/05/2023        IME Companion         Maria Ortega-1 hour                                           1            225.00      225.00
                                        Dr. Adam Bender        Neuro
                                        1150 Park Avenue, New York, NY 10128
                                        Served subpoena                                                                                 I
04/07/2023        IME Companion         Allendy Nunez Jimenez- 1.5 hours                              1            270.00      270.001
                                        Dr. Douglas Unis Ortho                                                                          I
                                        300 Cadman Plaza. Brooklyn, NY 11201                                                            I
                                        Served subpoena                                                                                 I
04/07/2023        IME Companion         Maria Ortega- 1.5 hours                                       1            270.00      270.00 '
                                        Dr. Jason Baynes        Ortho
                                        205 East 76th Street, New York, NY 10075
                                        Served subpoena
04/07/2023        IME Companion         Miguel Bienvanido Bermeo Vera- 1 hour                         1            225.00      225.00
                                        Dr. Krishn Sharma Ort ho
                                        205 East 76th Street, New York, NY 10075
                                        Served subpoena
04/07/2023        IME Companion         Andrei Perciun- 1 hour                                                     225.00      225.00
                                      . Dr. Yong Kim      Ortho                                                                     .
                                                                                                                                        i
                                                                                                                                        '
      Case 1:22-cv-01032-PKC-JRC Document 220-3 Filed 05/26/23 Page 7 of 8 PageID #: 4374
IME DATE     DESCRIPTION           LOCATION                                    QTY    RATE    AMOUNT

                                   Served subpoena
04/19/2023   IME Companion         Ivan Lchkevych- 1.5 hours                     1   270.00    270.00
                                   Dr. Allan Rubenstein Neuro
                                   1050 Park Avenue, New York, NY
                                   Served subpoena
04/19/2023   IME Companion         Lucia Quezada- 1 hour                             225.00    225.00
                                   Dr. Allan Rubenstein  Neuro
                                   1050 Park Avenue, New York, NY
                                   Served subpoena
04/19/2023   IME Companion         Bryan Montas- 1 .5 hours                      1   270.00    270.00
                                   Dr. Allan Rubenstein Neuro
                                   1050 Park Avenue, New York, NY
                                   Served subpoena
04/19/2023   IME Companion         Tomasz Olfans- 2.5 hours                      1   420.00    420.00
                                   Dr. Ronald Snyder Ortho
                                   99 Court Street, White Plains, NY 10601
                                   Outside NYC
                                   Served subpoena
04/19/2023   IME Companion         Jaavoni Johnson- 1.5 hours                    1   270.00    270.00
                                   Dr. Joseph Yellin Neuro
                                   1599 East 15th Street, Brooklyn, NY 11230
                                   Served subpoena
04/20/2023   IME Companion         Jose Gonzalez- 1 hour                         1   225.00    225.00
                                   Dr. Andrew Bazos Ortho
                                   244 West 54th Street, New York, NY 10019
                                   Served subpoena
04/20/2023   IME Companion         Robert Mitchell- 1 hour                       1   225.00    225.00
                                   Dr. Adam Bender Neuro
                                   1150 Park Avenue, New York, NY 10128
                                   Served subpoena
04/20/2023   IME Companion         Halmar Reyes Guevara - 1 hour                 1   225.00    225.00
                                   Dr. Andrew Bazos Ortho
                                   244 West 54th Street, New York, NY 10019
                                   Served subpoena
04/20/2023   IME Companion         Demetria Jones- 1 .5 hours                    1   345.00    345.00
                                   Dr. Dorothy Scarpinato Ortho
                                   176 Hicksville Road, Bethpage, NY 11714
                                   Outside NYC
                                   Served subpoena
04/20/2023   IME Companion     ISohail Butt Karim- 1.5 hours                     1   345.00    345.00
                               I Dr. Marc Chernoff Ortho
                                   800 Woodbury Road, Woodbury, NY 11797
                                   Outside NYC
                                   Served subpoena
                               I
04/21/2023   IME Companion         Nicholas Brooks- 1.5 hours                    1   270.00    270.00
                                   Dr. Frank Lombardo Ortho
                                   205 East 76th Street, New York, NY 10075
                                   Served subpoena
04/21/2023   IME Companion         Rohan Manragh- 1 hour                         1   300.00    300.00
                                   Dr. Dana Mannor    Ortho
                                   28 Sycamore Lane, Commack, NY 11725
                                   Outside NYC
                                   Servedsubpoena ..
         Case 1:22-cv-01032-PKC-JRC Document 220-3 Filed 05/26/23 Page 8 of 8 PageID #: 4375

IME DATE             DESCRIPTION                     LOCATION                                                             QTY    RATE    AMOUNT

04/21/2023            IME Companion                  Manuel Quishpe Llongo- 4 hours                                             495.00    495.00
                                                     Dr. William Barr Neuro psych
                                                     724 2nd Avenue, New York, NY 10016
                                                     Served subpoena
04/21/2023            IME Companion                  Michael Aragona- 2 hours                                               1   375.00    375.00
                                                     Dr. August Buerkle     Ort ho
                                                     2545 Hempstead Turnpike, East Meadow,
                                                     NY 11554
                                                     Outside NYC
                                                     Served subpoena
04/21/2023            IME Companion                  Rigoberto Reyes Suarez- 2 hours                                        1   315.00    315.00
                                                     Dr. Tanuj Palvia   Anesthesia/PM
                                                     2114 Willlamsbridge Road, Bronx, NY
                                                     10461
                                                     Served subpoena
04/21/2023           IME Companion                   Carlos Andrade Salazar- 1 hour                                         1   225.00    225.00
                                                     Dr. Frank Lombardo       Ortho
                                                     205 East ?6th Street, New York, NY 10075
                                                     Serveds!Jbpoena
We appreciate your business and look forward to helping you again soon.
                                                                           - ---- -- -- ---- - - -- - ---- ------- - --

                                                                                      BALANCE DUE
                                                                                                                            J
                                                                                                                                  $10,755.00
